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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

RANDY WILLIAM BRAST                              §
                                                 §      CIVIL ACTION NO. 4:24-cv-01173
Plaintiff                                        §
                                                 §
VS.                                              §
                                                 §
FOUR CORNERS, L.L.C.                             §
                                                 §
Defendant                                        §

                                        COMPLAINT

TO THE U.S. DISTRICT JUDGE:

        COMES NOW, Plaintiff RANDY WILLIAM BRAST and brings this cause of

action against FOUR CORNERS, L.L.C. (“FOUR CORNERS” or “Defendant”). FOUR

CORNERS, L.L.C. owns, controls, manages, and rents the real estate, property, and

improvements in Houston, Texas, where a business named TITLEMAX operates. Mr.

BRAST respectfully shows that the Defendant’s real estate, property, and improvements

at the location are not accessible to individuals with mobility impairments and

disabilities, in violation of federal law.

                                             I. CLAIM

        1.      Mr. BRAST, a person with a physical disability and mobility impairments,

brings this action for declaratory and injunctive relief, attorney’s fees, costs, and

litigation expenses against Defendant for violations of Title III of the Americans with

Disabilities Act, 42 U.S.C. §§12181, et seq. (“ADA”), and its attendant regulations, the

Americans with Disabilities Act Accessibility Guidelines (“ADAAG”).

        2.      Defendant refused to provide Mr. BRAST and others similarly situated

with sufficient ADA-compliant parking in the parking lot that serves TITLEMAX. At the


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Houston location, there are no ADA-compliant van-accessible spaces on the shortest

access route to the business. In addition, there are no ADA-required handicapped parking

signs.

           Based on these facts, DEFENDANT has denied Mr. BRAST the ability to enjoy

the goods, services, facilities, privileges, advantages, and accommodations at

TITLEMAX.

                              JURISDICTION AND VENUE

         3.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §1331 and §1343(a)(3) & (a)(4) for violations of the Americans with Disabilities

Act of 1990, 42 U.S.C. §12101, et seq.

         4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the

events complained of occurred in Houston, Texas, where the TITLEMAX business is

located.

                                          PARTIES

         5.      Plaintiff RANDY WILLIAM BRAST is a resident of Houston. Mr.

BRAST has a disability, as established by the Federal government. Mr. BRAST has a

disabled placard on his vehicle as issued by the State of Texas. Mr. BRAST has

significant mobility impairments and uses assistive devices for mobility. He is a

“qualified individual with a disability” within the meaning of ADA Title III.

         6.      Defendant FOUR CORNERS, L.L.C. owns, manages, controls, and leases

the improvements and building where the TITLEMAX business is situated. The address

of TITLEMAX is 12899 Westheimer Road, Houston, Texas 77077. The business is a

place of public accommodation, operated by a private entity, whose operations affect



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commerce within the meaning of Title III of the ADA.

       7.     Defendant FOUR CORNERS, L.L.C. is the owner of the property.

Defendant is a domestic limited liability company. Defendant can be served process via

service to its Registered Agent, Dan Silvestri, at 1215 Gessner Drive, Houston, Texas

77055, as indicated by records from the Texas Secretary of State.

                                       II. FACTS

       8.     TITLEMAX is a business establishment and place of public

accommodation in Houston, Texas. TITLEMAX is situated on real estate, property, and

improvements owned, controlled, managed, and leased out by FOUR CORNERS, L.L.C.

       9.     TITLEMAX is not accessible to disabled individuals because it has no

ADA-compliant van-accessible spaces on the shortest access route to the business. At the

Houston location, there are none whatsoever on the premises. In addition, there are no

ADA-required handicapped parking signs.

       10.    Pictures taken at the location prove this:




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TITLEMAX business in Houston, Texas. There is no ADA-compliant van-accessible
space (96” wide with 96” side access aisle) near the business entrance on the shortest
possible access route. In addition, there are no ADA-required handicapped parking signs.




TITLEMAX business in Houston, Texas. There is no ADA-compliant van-accessible
space (96” wide with 96” side access aisle) near the business entrance on the shortest
possible access route. In addition, there are no ADA-required handicapped parking signs.




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TITLEMAX business in Houston, Texas. There is no ADA-compliant van-accessible
space (96” wide with 96” side access aisle) near the business entrance on the shortest
possible access route. In addition, there are no ADA-required handicapped parking signs.

       11.     The Plaintiff went to the TITLEMAX property in January of 2023.

       12.     In encountering and dealing with the lack of an accessible facility, the

Plaintiff experienced difficulty and discomfort. These violations denied Plaintiff the full

and equal access to facilities, privileges and accommodations offered by the Defendant.

Plaintiff intends to return to TITLEMAX. By not having an ADA-compliant parking

area, the Plaintiff’s life is negatively affected because he is not able to safely access the

location without fear of being struck by a vehicle. This causes the Plaintiff depression,

discomfort, and emotional stress and the Plaintiff is prevented from resuming a normal

lifestyle and enjoying access to businesses in his area.

       13.     Additionally, on information and belief, the Plaintiff alleges that the



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failure to remove the barrier was intentional because: (1) this particular barrier is intuitive

and obvious; (2) the Defendant exercised control and dominion over the conditions at this

location and, therefore, the lack of accessible facilities was not an “accident” because

Defendant intended this configuration; (3) Defendant has the means and ability to make

the change; and (4) the changes to bring the property into compliance are “readily

achievable.”

        14.     At the Houston location, there are no ADA-compliant van-accessible

spaces on the shortest access route to the business. In addition, there are no ADA-

required handicapped parking signs, thus deterring disabled patrons from accessing the

business.

        15.     The Americans with Disabilities Act (ADA), 42 U.S.C. §12101, has been

federal law for over 30 years. These are blatant violations of the ADA.

            III. CAUSE OF ACTION - VIOLATION OF THE AMERICANS
                 WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12101

        16.     Plaintiff repleads and incorporates by reference, as if fully set forth at

length herein, the allegations contained in all prior paragraphs of this complaint.

        17.     Under the ADA, it is an act of discrimination to fail to ensure that the

privileges, advantages, accommodations, facilities, goods and services of any place of

public accommodation are offered on a full and equal basis by anyone who owns, leases,

or operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination

is defined, inter alia, as follows:

                a.      A failure to make reasonable modifications in policies, practices,

        or procedures, when such modifications are necessary to afford goods, services,

        facilities, privileges, advantages, or accommodations to individuals with


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       disabilities, unless the accommodation would work a fundamental alteration of

       those services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).

               b.      A failure to remove architectural barriers where such removal is

       readily achievable. 42 U.S.C. § 12182(b)(2) (A)(iv). Barriers are defined by

       reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix “D.”

               c.      A failure to make alterations in such a manner that, to the

       maximum extent feasible, the altered portions of the facility are readily accessible

       to and usable by individuals with disabilities, including individuals who use

       wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to

       the altered area and the bathrooms, telephones, and drinking fountains serving the

       altered area, are readily accessible to and usable by individuals with disabilities.

       42 U.S.C. § 12183(a)(2).

       18.     Here, the Defendant did not provide a sufficient number of ADA-

compliant van-accessible parking spaces in its parking lot, although doing so is easily and

readily done, and therefore violated the ADA.

                                  IV. RELIEF REQUESTED

Injunctive Relief

       19.     Mr. BRAST will continue to experience unlawful discrimination as a

result of the Defendant’s refusal to comply with the ADA. Injunctive relief is necessary

so he and all individuals with disabilities can access the Defendant’s property equally, as

required by law, and to compel Defendant to repave and restripe the parking lot to

comply with the ADA. Injunctive relief is also necessary to compel Defendant to keep

the property in compliance with federal law.




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Declaratory Relief

        20.     Mr. BRAST is entitled to declaratory judgment concerning Defendant’s

violations of law, specifying the rights of individuals with disabilities to access the goods

and services at the Defendant’s location.

        21.     The facts are undisputed and Defendant’s non-compliance with the ADA

has been proven through on-site photographs. Plaintiff proves a prima facie case of ADA

violations by the Defendant.

Attorney’s Fees and Costs

        22.     Plaintiff is entitled to reasonable attorney’s fees, litigation costs, and court

costs, pursuant to 42 U.S.C. §12205.

                                V. PLAINTIFF HAS STANDING

        23.     The United States Court of Appeals for the Fifth Circuit is clear with

regard to ADA standing and set forth its reasoning in Frame v. Arlington, 657 F.3d 215

(5th Cir. 2011)(cert. denied): “Article III standing requires a plaintiff seeking injunctive

relief to allege ‘actual or imminent’ and not merely ‘conjectural or hypothetical’ injury.”


        24.     In this manner, the Fifth Circuit ruled in Frame that for a person to have

standing and bring an ADA claim, the person must allege the inability to access the

goods, facilities, and services that the defendant offers. As applied to the instant case, the

Plaintiff alleges that he is unable to fully access the goods, facilities, and services at the

Defendant’s property because the property is not accessible and is not ADA-compliant.

The Plaintiff lives in the Houston area, has visited the Defendant’s property, has the

intent to return, but was ‘deterred from visiting or patronizing the accommodation,’ thus

meeting the requirements for standing in Frame.



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       25.     Again, the Fifth Circuit emphasizes how standing is met by ADA

claimants: “Once a plaintiff has actually become aware of discriminatory conditions

existing at a public accommodation, the plaintiff has suffered an injury.” See Frame v.

Arlington, 657 F.3d 215 (5th Cir. 2011)(cert. denied), quoting Pickern v. Holiday Foods

Inc., 293 F.3d 1133, 1136-37 (9th Cir. 2002). Thereby, Plaintiff meets the Fifth Circuit

standard under Frame to allege and plead a sufficient cause of action.

       26.     Plaintiff also alleges that his day-to-day life has been negatively impacted

by the Defendant’s refusal to bring the property into ADA compliance. Thus, Plaintiff

meets the second prong of the Fifth Circuit’s requirement for standing in ADA cases: a)

intent to return; and b) negative impact on day-to-day life. See Frame v. Arlington, supra.

       27.     The parking layout at Defendant’s location creates a hazardous condition

because: 1) there are no van-accessible spaces and a customer cannot safely exit their

vehicle and remove their mobility aids (cane, walker or wheelchair); 2) there are no

disabled / handicapped spaces whatsoever, thus forcing disabled customers to park far

from the store entrance; and 3) lack of markings / proper signage which allows vehicles

to park everywhere, thus creating the likelihood that the Plaintiff could be injured by

another vehicle as Plaintiff is offloading mobility assistance devices (cane, walker,

wheelchair, etc.) These conditions make it appear that Plaintiff is unwelcome at

Defendant’s property. Thus, the Plaintiff is deterred from accessing TITLEMAX and

meets the pleading standard under Frame to show standing and seek injunctive relief.

       28.     Intent to Return. Plaintiff has the intent to return to TITLEMAX. The

Plaintiff is a resident of Houston, Texas, and shops locally. The Plaintiff believes it is

beneficial to shop locally to save money and provide for the well-being of his family. Not

having access to local businesses (because of his disability) negatively impacts the


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Plaintiff’s daily life. Not being able to patronize local shops and stores negatively impacts

Plaintiff in his day-to-day life.

                                VI. PRAYER FOR RELIEF

          THEREFORE, Mr. BRAST respectfully requests this Court award the following

relief:

          A.    A permanent injunction, compelling Defendant to comply with the

Americans with Disabilities Act; and enjoining Defendant from violating the ADA and

from discriminating against Mr. BRAST and those similarly situated, in violation of the

law;

          B.    A declaratory judgment that Defendant’s actions are a violation of the

ADA;

          C.    Find that Mr. BRAST is the prevailing party in this action, and order

Defendant liable for Plaintiff’s attorney’s fees, costs, and litigation expenses; and,

          D.    Grant such other and additional relief to which Plaintiff may be entitled in

this action.


DATED: March 30, 2024
                                       Respectfully,

                                       BY:        /S/ R. Bruce Tharpe________
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